        CASE 0:22-cv-01666-WMW-DTS Doc. 40 Filed 09/12/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Sam Wolk,
               Plaintiff,
       vs.
The City of Brooklyn Center; Brooklyn
Center Police Chief Tim Gannon, in his
individual capacity; Brooklyn Center
Police Commander Tony Gruenig, in his
individual capacity; Hennepin County;
Hennepin County Sheriff David
                                                   Case No. 22-cv-01666 (WMW/DTS)
Hutchinson, in his individual capacity,
Minnesota Department of Public Safety;
                                                       DECLARATION OF
Department of Public Safety
                                                       PETER J. FARRELL
Commissioner John Harrington, in his
                                                        IN SUPPORT OF
individual capacity, Chief of Minnesota
                                                     THE DNR DEFENDANTS’
State Patrol Colonel Matt Langer, in his
                                                      MOTION TO DISMISS
individual capacity, Minnesota
Department of Natural Resources;
Minnesota Department of Natural
Resources Director of Enforcement
Colonel Rodman Smith, in his individual
capacity, Minnesota Department of
Natural Resources Incident Commander
Captain Aaron Kahre, in his individual
capacity; and John Does 1-100, in their
individual capacities;
               Defendants.


       I, PETER J. FARRELL, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.      I am an Assistant Attorney General in the Office of the Minnesota Attorney

General.     I represent Defendant Minnesota Department of Natural Resources, DNR

Colonel Rodman Smith, and DNR Captain Aaron Kahre (collectively, the “DNR

Defendants”) in this case.
         CASE 0:22-cv-01666-WMW-DTS Doc. 40 Filed 09/12/22 Page 2 of 2




      2.     Attached are true and correct copies of the following documents:

Exhibit       Date       Description
    1         04/12/2021 Office of Minn. Governor Tim Walz, Emergency Executive
                         Order 21-17, https://www.lrl.mn.gov/archive/execorders/
                         21-17.pdf
     2        04/12/2021 Office of Minn. Governor Tim Walz, Emergency Executive
                         Order 21-18, https://www.lrl.mn.gov/archive/execorders/
                         21-18.pdf

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: September 12, 2022
                                           /s/ Pete Farrell
                                           PETER J. FARRELL




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